 Case 1:22-cv-01466-MN Document 33 Filed 04/28/23 Page 1 of 3 PageID #: 2946




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

AUTONOMOUS DEVICES, LLC,                           )
                                                   )
                      Plaintiff,                   )
                                                   )
       v.                                          )    C.A. No. 22-1466 (MN)
                                                   )
TESLA, INC.,                                       )
                                                   )
                      Defendant.                   )

                                    NOTICE OF SERVICE

       The undersigned hereby certifies that copies of: (1) Tesla, Inc.’s First Set of

Interrogatories (Nos. 1-13); and (2) Tesla, Inc.’s First Set of Requests for Production (Nos. 1-63)

were caused to be served on April 28, 2023, upon the following in the manner indicated:

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 Case 1:22-cv-01466-MN Document 33 Filed 04/28/23 Page 2 of 3 PageID #: 2947




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April 28, 2023




                                      2
 Case 1:22-cv-01466-MN Document 33 Filed 04/28/23 Page 3 of 3 PageID #: 2948




                                CERTIFICATE OF SERVICE

       I hereby certify that on April 28, 2023, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on April 28,

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